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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT COURT OF MARYLAND

MARYLAND SHALL ISSUE, INC., et al., *

      Plaintiffs,                      *

      v.                               *        Civil Case No. 16-cv-3311-MJG

LAWRENCE HOGAN, et al.,                *

      Defendants.                      *

*     *      *       *    *   *    *       *    *     *       *   *      *      *

                    DEFENDANTS’ MEMORANDUM IN SUPPORT
                           OF MOTION TO DISMISS



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Dated: December 2, 2016            Attorneys for Defendants
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                                     INTRODUCTION

       Defendants Governor Lawrence J. Hogan, Jr. and Superintendent of State Police

Colonel William M. Pallozzi, sued in their official capacities, move to dismiss the

complaint for failure to state a claim upon which relief can be granted pursuant to Federal

Rule of Civil Procedure 12(b)(6).1 All three counts of the complaint challenge Maryland’s

requirement that most individuals wishing to purchase a handgun in Maryland first obtain

a Handgun Qualification License (“HQL”). In Count I, the plaintiffs allege that Maryland’s

HQL requirement violates the Second Amendment to the United States Constitution. The

plaintiffs fail to state a claim in Count I because the requirement easily satisfies the most

stringent test that might apply, intermediate scrutiny, as it is a reasonable fit to the State’s

compelling interest in public safety and reducing handgun violence.

       In Count II, the plaintiffs allege that the HQL requirement violates the Due Process

Clause of the Fourteenth Amendment to the United States Constitution in two ways: (1) a

procedural due process claim based on the statute’s reliance on private handgun instructors

to provide required training; and (2) a void for vagueness claim based on the HQL

requirement’s application to individuals who “receive” a handgun. The procedural due

process claim fails both because the plaintiffs have failed to identify any actual deprivation

of a constitutionally-protected right and because due process is provided after any denial

of an HQL. The plaintiffs’ void for vagueness claim fails because the term “receive” is not

vague, especially in context and in light of controlling Maryland law.


       1
         Governor Hogan is named as a defendant only because he is a state official
required to implement the statutory scheme.
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       In Count III, the plaintiffs allege that various aspects of the regulations

implementing the HQL requirement are ultra vires under Maryland law. Count III fails to

state a claim on which relief can be granted for several reasons, including: (1) several of

the plaintiffs’ claims rely on misstatements of the regulations; (2) the challenged

requirements are clearly within the scope of the authority delegated to the Maryland State

Police; (3) the statute does not require the Maryland State Police to offer the services that

the plaintiffs complain it is not offering; and (4) the plaintiffs fail to identify any alleged

deficiencies in the adoption of the regulations.


                               FACTUAL BACKGROUND

       A.     The HQL Requirement of the Firearm Safety Act of 2013

       The Firearm Safety Act of 2013, Chapter 427 of the 2007 Laws of Maryland

(hereinafter, the “Firearm Safety Act”), represents a comprehensive effort to amend

Maryland’s gun laws to enhance public safety. The plaintiffs in this case challenge the

Firearm Safety Act’s requirement that most purchasers of handguns in Maryland must have

a valid HQL. The HQL requirement, which incorporates a robust background check and a

safety training requirement for handgun purchases, is found in § 5-117.1 of the Public

Safety Article, which is reproduced as Exhibit 2. Subject to certain exemptions,2 under

§ 5-117.1(b) and (c), respectively, one person may not “sell, rent, or transfer a handgun”



       2
         The law provides exemptions for licensed firearms manufacturers, certain active
or retired law enforcement officers, active or retired members of the United States military
or National Guard, and purchases of antique, curio, or relic firearms. Md. Code Ann., Pub.
Safety § 5-117.1(a).

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to a second person, and the second person may not “purchase, rent, or receive a handgun”

from the first person, unless the second person presents a valid HQL.

       Section 5-117.1(d) requires the Secretary of State Police to issue an HQL to an

applicant who: (i) is at least 21 years old; (ii) is a Maryland resident; (iii) has completed a

firearms safety training course meeting certain criteria within three years of applying for

an HQL; and (iv) based on an investigation by the Maryland State Police, is not prohibited

from owning a firearm. The required firearms safety training course must include at least

four hours of instruction by a qualified handgun instructor covering: (a) classroom

instruction on state firearm law, home firearm safety, and the mechanisms and operation

of handguns; and (b) “a firearms orientation component that demonstrates the person’s safe

operation and handling of a firearm.” Md. Code Ann., Pub. Safety § 5-117.1(d)(3).3 The

required investigation of whether an individual may lawfully possess a firearm must

include a state and national criminal history check that utilizes fingerprints required to be

submitted as part of the HQL application. Pub. Safety § 5-117.1(f).

       The statute requires an applicant for an HQL to submit: (1) “an application in the

manner and format designated by the Secretary”; (2) an application fee “to cover the costs

to administer the program of up to $50”; (3) proof of completion of the training



       3
         The training course requirement is waived for an individual who: (i) has completed
a certified firearms training course approved by the Secretary or that is prescribed by the
Department of Natural Resources; (ii) is a qualified handgun instructor; (iii) is an honorably
discharged member of the United States armed forces or National Guard; (iv) is a permitted
employee of an armored car company; or (v) already lawfully owns a “regulated firearm.”
Pub. Safety § 5-117.1(e). A regulated firearm includes any handgun, among certain other
firearms. Pub. Safety § 5-101(r).

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requirement; (4) any other information or documentation required by the Secretary; and

(5) a statement under oath that the individual is not prohibited from possessing a handgun.

Pub. Safety § 5-117.1(g). Within 30 days of receiving a complete application, the Secretary

is charged with either issuing an HQL or providing a written denial accompanied by a

statement of the reason for the denial and notice of appeal rights. Pub. Safety § 5-117.1(h).

       An HQL is valid for 10 years from its issuance. Pub. Safety § 5-117.1(i). A person

who is denied an HQL for any reason, or whose HQL is revoked for any reason, may

request a hearing from the Secretary within 30 days of the denial or revocation. Pub. Safety

§ 5-117.1(l)(1). A party still aggrieved after such a hearing may pursue judicial review in

the Maryland state courts. Pub. Safety § 5-117.1(l)(3).

       B.      The HQL Implementing Regulations

       The General Assembly authorized the Secretary to adopt regulations to carry out the

HQL provisions. Pub. Safety § 5-117.1(n); see also Pub. Safety § 5-105. Effective

December 23, 2013, the Maryland State Police adopted such implementing regulations,

which appear at 29.03.01.26 – .41 of the Code of Maryland Regulations (“COMAR”),

which are attached as Exhibit 3. Among others:

             COMAR 29.03.01.28(B) prescribes the required elements to include in an
              application for an HQL, including identifying and contact information, proof
              of completion of or exemption from the training requirement, fingerprints,
              and authorization for release of mental health records;

             COMAR 29.03.01.29(C) provides further detail on the elements of the
              required training course that are identified in the statute, including aspects of
              state firearm law, home firearm safety, and handgun mechanism and
              operation that must be covered. Implementing the statute’s requirement that
              the training component include a demonstration of “the person’s safe
              operation and handling of a firearm,” the regulations require that the training
                                               4
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              must include “a practice component in which the applicant safely fires at
              least one round of live ammunition.” COMAR 29.03.01.29(C)(4).

           Other aspects of the implementing regulations address the processing,
            issuance or denial, renewal, and revocation of HQLs, as well as qualifications
            and process to become a qualified handgun instructor. COMAR 29.03.01.30
            – .39.

      The regulations were published in draft form in the Maryland Register on September

20, 2013, at Volume 40, Issue 19, Pages 1568-83. On October 18, 2013, the Maryland

State Police published notice that the Maryland Joint Committee on Administrative,

Executive, and Legislative Review had granted emergency status to the adoption of the

new regulations. That notice was published in the Maryland Register at Volume 40, Issue

21, Page 1772.       On November 26, 2013, the Maryland State Police adopted the final

regulations, which were then published in the Maryland Register on December 13, 2013,

at Volume 40, Issue 25, Pages 2072-73. In accord with § 10-117 of the State Government

Article, the regulations became effective on December 23, 2013.

      The Maryland State Police maintains a public website that includes the HQL

application itself, information about the application and the training requirement, and

information      about     becoming    a    qualified      handgun       instructor.       See

http://mdsp.maryland.gov/Organization/Pages/CriminalInvestigationBureau/LicensingDi

vision/Firearms/HandgunQualificationLicense.aspx (last visited Nov. 14, 2016).             The

website also includes a search engine to allow individuals to locate and access contact

information    for       more   than   1,100       qualified   handgun      instructors,   see

https://emdsp.mdsp.org/verification/ (last visited Nov. 14, 2016), and additional

information about fingerprinting services, including a link to a map of fingerprint vendors
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maintained by the Department of Public Safety and Correctional Services, see

http://mdsp.maryland.gov/Organization/Pages/CriminalInvestigationBureau/LicensingDi

vision/Fingerprinting.aspx (last visited Nov. 14, 2016).

       C.     The Plaintiffs

       Plaintiff Maryland Shall Issue, Inc. (“MSI”), is an organization of “approximately

772 members” that is “dedicated to the preservation and advancement of gun owners’ rights

in Maryland” ECF No. 1, Compl. ¶ 25. MSI contends that the HQL requirement causes it

direct harm “by undermining its message and acting as an obstacle to [its] objectives and

purposes.” Id. MSI also contends that its membership includes: (1) individuals who do

not possess an HQL and are subject to the HQL requirements and implementing

regulations; and (2) individuals who are qualified handgun instructors. Id.

       Plaintiff Atlantic Guns, Inc. is a Maryland-based, federally-licensed firearms dealer.

Atlantic Guns contends that its rights are violated by the HQL requirement because, it

argues, the Second Amendment secures a “right to sell firearms in order to give effect to

the right to own, and, thus, keep and bear them.” Id. ¶ 26.

       Plaintiff Ana Sliveira is a resident of California, Maryland, in St. Mary’s County.

Id. at 1. Ms. Sliveira holds a security clearance in connection with her employment as a

contractor to the Department of Defense, does not currently own a firearm or possess an

HQL, but would like to purchase a handgun for protection of herself and her family. Id.

¶¶ 6-9. Ms. Sliveira was one of the millions of individuals whose personal information

was potentially accessed in the Office of Personnel Management (“OPM”) data breach

revealed in early 2015. Id. ¶ 10.

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      Plaintiff Deborah Kay Miller is a resident of Crownsville, Maryland, in Anne

Arundel County. Id. at 1. Ms. Miller is an MSI member who does not currently possess

an HQL, but would like to purchase a handgun. Id. ¶¶ 12-14. The complaint does not state

whether Ms. Miller currently owns any handguns or other firearms.

      Plaintiff Susan Brancato Vizas is a resident of Frederick, Maryland, in Frederick

County. Id. at 1. Ms. Vizas, who has taken a hunter safety training class, does not have an

HQL, would like to purchase a handgun, but believes that the remaining steps to obtain an

HQL are “sufficiently burdensome that she has not moved forward.” Id. ¶¶ 16-19. The

complaint does not state whether Ms. Vizas currently owns any handguns or other firearms.

      Plaintiff Christina Bunch is a resident of Eldersburg, Maryland, in Carroll County.

Id. at 1. Ms. Bunch does not currently possess an HQL, would like to purchase a handgun,

but “cannot afford the time or excessive cost of acquiring an HQL.” Id. ¶¶ 20-24. The

complaint does not state whether Ms. Bunch currently owns any handguns or other

firearms.

      None of the plaintiffs (or, in the case of MSI, none of its identified members) asserts

that she lacks access to a computer, the Internet, a document scanner, a fixed address or

telephone number, a credit or debit card, a qualified handgun instructor, or a fingerprint

vendor.


                              STANDARD OF REVIEW

      To survive a motion to dismiss for failure to state a claim on which relief can be

granted, “a complaint must contain sufficient factual matter, accepted as true, ‘to state a


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claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

(quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). The factual allegations

“must be enough to raise a right to relief above the speculative level.” Kerr v. Marshall

Univ. Bd. of Governors, 824 F.3d 62, 71 (4th Cir. 2016) (quoting Twombly, 550 U.S. at

555). Although the Court is required to “‘take the facts in the light most favorable to the

plaintiff,’” the Court “need not accept legal conclusions couched as facts or ‘unwarranted

inferences, unreasonable conclusions, or arguments.’” Wag More Dogs, LLC v. Cozart,

680 F.3d 359, 365 (4th Cir. 2012) (quoting Giarratano v. Johnson, 521 F.3d 298, 302 (4th

Cir. 2008) (internal citation omitted)). Nor may the Court credit “‘naked assertions devoid

of further factual enhancement.’” United States ex rel. Oberg v. Pennsylvania Higher

Educ. Assistance Agency, 745 F.3d 131, 136 (4th Cir. 2014) (quoting Iqbal, 556 U.S. at

678). “While legal conclusions can provide the framework of a complaint, they must be

supported by factual allegations.” Iqbal, 556 U.S. at 679.

       When ruling on a Rule 12(b)(6) motion to dismiss, this Court is “not confined to the

four corners of the complaint” and “may properly take judicial notice of matters of public

record,” Oberg, 745 F.3d at 136, including “publicly available” statistics, Hall v. Virginia,

385 F.3d 421, 424 n.3 (4th Cir. 2004) (citing Papasan v. Allain, 478 U.S. 265, 268 n.1

(1986) (“Although this case comes to us on a motion to dismiss under Federal Rule of Civil

Procedure 12(b)(6), we are not precluded in our review of the complaint from taking notice

of items in the public record . . . .”)).     This Court also may consider “documents

incorporated into the complaint by reference, as well as those attached to the motion to



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dismiss, so long as they are integral to the complaint and authentic.” Oberg, 745 F.3d at

136 (internal citations and quotation marks omitted).


                                       ARGUMENT

I.     THE PLAINTIFFS’ SECOND AMENDMENT CLAIM FAILS BECAUSE THE
       HQL REQUIREMENT IS REASONABLY ADAPTED TO THE STATE’S
       SUBSTANTIAL INTERESTS IN ADVANCING PUBLIC SAFETY AND REDUCING
       THE NEGATIVE EFFECTS OF FIREARMS VIOLENCE.

       In Count I, the plaintiffs bring facial and as-applied constitutional challenges under

the Second Amendment centered on the cost and time required to acquire an HQL. Both

challenges fail as a matter of law.

       A.     The Second Amendment Framework

       The Second Amendment provides: “A well regulated Militia, being necessary to the

security of a free State, the right of the people to keep and bear Arms, shall not be

infringed.”   U.S. Const., amend. II.       The Supreme Court interpreted the Second

Amendment in District of Columbia v. Heller, 554 U.S. 570 (2008) (“Heller I”) as having

codified a pre-existing individual right, id. at 592, that “elevates above all other interests

the right of law-abiding, responsible citizens to use arms in defense of hearth and home,”

id. at 635. Accordingly, the Court struck down a District of Columbia law that imposed a

“complete prohibition” on the possession of handguns within the home. Id. at 628-29.

       The Court emphasized, however, that “nothing in [its] opinion should be taken to

cast doubt” on “presumptively lawful regulatory measures” such as (i) longstanding bans

on “the possession of firearms by felons and the mentally ill”; (ii) bans on “the carrying of

firearms in sensitive places such as schools and government buildings”; or (iii) “laws

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imposing conditions and qualifications on the commercial sale of arms.” Id. at 626-27 &

n.26. The Court’s list of “examples” of presumptively lawful regulations did “not purport

to be exhaustive.” Id. at 627 n.26. In McDonald v. City of Chicago, 561 U.S. 742 (2010),

the Supreme Court held that the individual Second Amendment right is “fully applicable

to the States,” id. at 748, but promised that “[s]tate and local experimentation with

reasonable firearms regulation will continue under the Second Amendment.” Id. at 784

(citation omitted).

       Post-Heller and McDonald, the United States Court of Appeals for the Fourth

Circuit has adopted a two-pronged approach to analyzing laws under the Second

Amendment. Woollard v. Gallagher, 712 F.3d 865, 874-75 (4th Cir.), cert. denied, 134 S.

Ct. 422 (2013); United States v. Chester, 628 F.3d 673, 680 (4th Cir. 2010). Under this

approach, the first question is “whether the challenged law imposes a burden on conduct

falling within the scope of the Second Amendment’s guarantee.” Chester, 628 F.3d at 680

(internal quotation marks omitted). If not, the challenged law is valid. Id. If, on the other

hand, the burdened conduct is found to be within the scope of the Amendment, then the

second prong requires the application of “an appropriate form of means-end scrutiny.” Id.

       B.     To the Extent the HQL Requirement Burdens Conduct Falling
              Within the Scope of the Second Amendment, Intermediate
              Scrutiny Is the Applicable Standard of Review.

       The Fourth Circuit has adopted intermediate scrutiny as the appropriate test for

regulations affecting behavior that implicate the Second Amendment right but that do not

substantially burden the core right of in-home self-defense by responsible, law-abiding

citizens. Woollard, 712 F.3d at 878-79; United States v. Masciandaro, 638 F.3d 458, 471

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(4th Cir. 2011); Chester, 628 F.3d at 683. To the extent that the HQL law burdens conduct

falling within the scope of the Second Amendment, this Court, like others have, should

apply intermediate scrutiny, because the law does not substantially burden a law-abiding

individual’s ability to acquire a firearm for legitimate in-home self-defense or any other

lawful purpose. The D.C. Circuit, for example, held that intermediate scrutiny was the

appropriate standard of review to apply to the District’s firearm registration law, enacted

post-Heller I, that shares many of the attributes of Maryland’s HQL law, including a

fingerprint requirement and firearm safety training. Heller v. District of Columbia, 670

F.3d 1244, 1257-58 (D.C. Cir. 2011) (“Heller II”). The D.C. Circuit rejected the plaintiffs’

call for application of strict scrutiny because the District’s registration requirements, like

those in Maryland’s law, “‘do[] not severely limit the possession of firearms’ . . . [and]

none of the District’s registration requirements prevents an individual from possessing a

firearm in his home or elsewhere, whether for self-defense or hunting, or any other lawful

purpose.’” Id. at 1257-58 (quoting United States v. Marzzarella, 614 F.3d 85, 97 (3d Cir.

2010)); see also Kwong v. Bloomberg, 723 F.3d 160, 167-68 (2d Cir. 2013) (explaining

that “the fact that the licensing regime makes the exercise of one’s Second Amendment

rights more expensive does not necessarily mean that it ‘substantially burdens’ that right”

and holding that New York’s $350 firearm licensing fee “easily survives ‘intermediate

scrutiny’”), cert. denied sub nom. Kwong v. de Blasio, 134 S. Ct. 2696 (2014); Justice v.

Town of Cicero, Ill., 827 F. Supp. 2d 835, 845 (N.D. Ill. 2011) (applying a form of

intermediate scrutiny to registration requirement that was “merely regulatory” and, thus,

“[did] not place a categorical limit on [the plaintiff’s] possession of firearms”).

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       Under the Fourth Circuit’s intermediate scrutiny test, the government bears the

burden of demonstrating that the challenged regulation “is reasonably adapted to a

substantial government interest,” Masciandaro, 638 F.3d at 471, meaning that there is a

‘reasonable fit’ between the challenged regulation and a ‘substantial’ government

objective,” Chester, 628 F.3d at 683. “[T]he State must show a fit that is reasonable, not

perfect,” and makes this showing by demonstrating that its “interests are substantially

served” by the challenged law. Woollard, 712 F.3d at 878 (citations and internal quotation

marks omitted). To survive intermediate scrutiny, the challenged law need not “‘be the

least intrusive means of achieving the relevant government objective[s],’” id. at 878-79

(quoting Masciandaro, 638 F.3d at 474), nor must it aim to “strike at all evils at the same

time,” Buckley v. Valeo, 424 U.S. 1, 105 (1976) (citations and internal quotation marks

omitted).

       To meet its burden, the State may “resort to a wide range of sources, such as

legislative text and history, empirical evidence, case law, and common sense, as

circumstances and context require.” United States v. Carter, 669 F.3d 411, 418 (4th Cir.

2012); see also United States v. Staten, 666 F.3d 154, 163-67 (4th Cir. 2011) (government

satisfied its burden under intermediate scrutiny through submission of scholarly social

science evidence). The court’s role is not to determine whether the legislature made the

correct policy decision; rather, “[t]he duty of the courts is to ensure that the legislature’s

policy choice substantially serves a significant governmental interest.” Woollard, 712 F.3d

at 881; see also Kachalsky v. County Of Westchester, 701 F.3d 81, 97 (2d Cir. 2012) (“In

the context of firearm regulation, the legislature is ‘far better equipped than the judiciary’

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to make sensitive public policy judgments (within constitutional limits) concerning the

dangers in carrying firearms and the manner to combat those risks.” (quoting Turner Broad.

Sys., Inc. v. FCC, 512 U.S. 622, 665 (1994))); Drake v. Filko, 724 F.3d 426, 436-37 (3d

Cir. 2013) (“When reviewing the constitutionality of statutes, courts accord substantial

deference to the [legislature’s] predictive judgments.” (internal quotation omitted)).

       The plaintiffs raise both a facial and an as-applied challenge to the HQL requirement

under the Second Amendment. Neither has merit, and both must be dismissed.

       C.     Plaintiffs’ Facial Challenge Fails to State a Claim for Relief
              Because Maryland’s HQL Requirement Has a Plainly Legitimate
              Sweep.

       To be successful in their facial challenge, the plaintiffs have “a very heavy burden

to carry, and must show that [the HQL law] cannot operate constitutionally under any

circumstance.” West Virginia v. United States Dep’t of Health & Human Servs., 289 F.3d

281, 292 (4th Cir. 2002) (citing United States v. Salerno, 481 U.S. 739, 745 (1987)); see

also H.B. Rowe Co. v. Tippett, 615 F.3d 233, 243 (4th Cir. 2010) (acknowledging plaintiffs’

“heavy burden” to prevail on facial challenge to race-based public contracting law). “The

Supreme Court has, as a policy matter, expressed a strong preference for avoiding facial

challenges.” Richmond Med. Ctr. for Women v. Herring, 570 F.3d 165, 171 (4th Cir. 2009)

(en banc).    The Court “disfavor[s]” facial challenges because they “often rest on

speculation,” “run contrary to the fundamental principle of judicial restraint,” and “threaten

to short circuit the democratic process by preventing laws embodying the will of the people

from being implemented in a manner consistent with the Constitution.” Washington State

Grange v. Washington State Republican Party, 552 U.S. 442, 450-51 (2008).

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       For the reasons set forth below, the plaintiffs’ facial challenge fails to state any claim

for relief because, as a matter of law, they cannot demonstrate that the HQL requirement,

or any of the particular aspects of that law that they challenge, “cannot operate

constitutionally under any circumstance.” West Virginia, 289 F.3d at 292. On the contrary,

the HQL requirement has a “plainly legitimate sweep.” Washington State Grange, 552

U.S. at 449 (quotation marks and citation omitted).

       As an initial matter, the plaintiffs appear to allege that the HQL law is per se

unconstitutional because it requires that individuals “obtain[] prior permission from the

government” to exercise their Second Amendment rights. ECF No. 1, Compl. ¶ 56. In

other words, the plaintiffs appear to argue that any requirement to obtain a permit or license

before exercising a Second Amendment right is necessarily unconstitutional.                 This

argument is foreclosed by the Fourth Circuit’s decision in Woollard, which upheld

Maryland’s scheme requiring a permit to wear, carry, or transport a handgun in public. 712

F.3d at 868. In Woollard, the Fourth Circuit assumed that the right to bear arms extended

outside the home and that Maryland’s permitting scheme burdened the rights of the

individual challenging the law. Id. at 876. Applying intermediate scrutiny, however, the

court held “that there is a reasonable fit between the good-and-substantial-reason

requirement [for obtaining a permit] and Maryland’s objectives of protecting public safety

and preventing crime.” Id. at 880. The Court expressly rejected the plaintiffs’ “prior

restraint” argument, which is akin to the argument the plaintiffs make here, in a footnote.

Id. at 883 n.11. Thus, requiring a license before an individual can exercise a Second

Amendment right cannot be unconstitutional per se.

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       Turning to intermediate scrutiny, the HQL law easily satisfies the first prong of that

analysis, which requires that the State’s interest be substantial. The Fourth Circuit, when

analyzing the constitutionality of other Maryland firearms regulations, has recognized that

advancing public safety and reducing the negative effects of firearms violence are

substantial, indeed compelling, government interests. Woollard, 712 F.3d at 877-78.

Under the second prong, publicly-available empirical evidence, case law, and common

sense all demonstrate that the HQL law is “reasonably adapted” to these interests.

              1.     The Fingerprinting, Background Check, and Firearms
                     Safety Training Provisions of Maryland’s HQL Law Are
                     Constitutional.

       With regard to the specific components of the HQL requirement, the plaintiffs

challenge primarily the fingerprinting, background check, and firearm safety training

provisions. Because these provisions are reasonably adapted to the State’s substantial

interests, they survive the plaintiffs’ facial challenge. First, Maryland’s requirement that

HQL applicants obtain a complete set of fingerprints for purposes of conducting enhanced

background checks substantially serves the State’s interest in promoting public safety by

making it more difficult for a prohibited person to obtain access to a firearm. See Heller

v. District of Columbia, 801 F.3d 264, 276-77 (D.C. Cir. 2015) (“Heller III”) (holding that

requiring firearm registrants to provide their fingerprints survived intermediate scrutiny

because the District could reasonably conclude that the requirement would “advance public

safety by preventing at least some ineligible individuals from obtaining weapons”). Robust

background checks animate the State’s policy of keeping firearms out of the possession of



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felons, a “presumptively lawful” and long-standing firearms restriction. Heller I, 554 U.S.

at 626-27 & n.26.

       The State’s interest is particularly acute when it comes to keeping handguns out of

the hands of criminals. Handguns are the firearms most frequently used by criminals in

Maryland. Woollard, 712 F.3d at 877. According to data collected by the FBI, there were

372 murders in Maryland in 2015. Out of 279 of those murders that involved firearms of

any type, 266 involved handguns. Federal Bureau of Investigation, 2015 Crime in the

United States, Table 20, Murder by State, Types of Weapons, 2015, available at

https://ucr.fbi.gov/crime-in-the-u.s/2015/crime-in-the-u.s.-2015/tables/table-20        (last

visited Nov. 30, 2016). Thus, murders with handguns comprised more than 95% of all

murders with firearms and more than 71% of all murders. Id.

       The greater utility of background checks using fingerprints than those conducted

without them is well established in case law and public reports, and is thus subject to

judicial notice. See Hall, 385 F.3d at 424 n.3 (courts may take judicial notice of matters of

public record including publicly-available statistics). For example, in Heller III, the D.C.

Circuit credited the District’s evidence demonstrating that “background checks using

fingerprints are more reliable than background checks conducted without fingerprints,

which are more susceptible to fraud.” 801 F.3d at 276. The court highlighted an

investigation conducted by the U.S. Government Accountability Office (“GAO”), in which

undercover agents using counterfeit driver’s licenses were able to purchase firearms from

federally-licensed firearms dealers, without exception. Id. The GAO report “concluded

that federal background checks conducted by the firearm dealers ‘cannot ensure that the

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prospective purchaser is not a felon or other prohibited person whose receipt and

possession of a firearm would be unlawful.’” Id. (quoting GAO–01–427, Firearms

Purchased from Federal Firearm Licensees Using Bogus Identification 2 (2001)). These

findings provide ample justification for dismissing plaintiffs’ facial challenge to the HQL

law’s fingerprinting and background check requirements. See City of Renton v. Playtime

Theatres, Inc., 475 U.S. 41, 51-52 (1986) (explaining that the State may rely on evidence

“already generated” by other jurisdictions); see also Carandola v. Bason, 303 F.3d 507,

515 (4th Cir. 2002) (government may rely on evidentiary foundation set forth in other

cases).

          Further, empirical studies of the effects of laws that require individuals to obtain a

license to purchase a firearm and pass a background check based on fingerprints, of which

this Court may also take judicial notice, have found that these laws are associated with a

reduction in the flow of guns to criminals.4 A study of Connecticut’s law found that the

licensing requirement to purchase a firearm was associated with a statistically significant

reduction in Connecticut’s firearm homicide rates during the first decade that the law was

in place, with no similar reduction in non-firearm homicides.5 Connecticut’s law has

features similar to Maryland’s, including a requirement that applicants be fingerprinted for



          4
        Ex. 4, Daniel Webster et al., Preventing the Diversion of Guns to Criminals
through Effective Firearm Sales Laws, in Reducing Gun Violence in America: Informing
Policy with Evidence and Analysis 109-22 (Webster, et al., eds., Johns Hopkins Univ. Press
2013).
          5
       Ex. 5, Kara E. Rudolph, et al., Association Between Connecticut’s Permit-to-
Purchase Handgun Law and Homicides, 105 Am. J. of Public Health 8, e49 (Aug. 2015).

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enhanced background checks for handguns sold by private sellers and licensed firearm

dealers, and a requirement that applicants complete an approved handgun safety course.

Conn. Gen. Stat. § 29-36(f), (g).

       Connecticut’s experience is entirely consistent with that of Missouri, which went in

the opposite direction after it repealed its handgun licensing requirement. In Missouri,

firearm-related homicide rates increased abruptly after repeal, with no similar increase in

surrounding states or the nation as a whole, and the state experienced an increase in the

percentage of crime guns recovered by police that had been originally sold by in-state

retailers.6 Studies of Missouri’s and Connecticut’s experiences also have found the

presence of firearm licensing laws to be associated with lower rates of firearm-related

suicides.7

       Second, common sense is sufficient to support the General Assembly’s conclusion

that Maryland’s requirement that HQL applicants receive training in the proper and safe

operation, handling, and storage of a handgun, including the requirement that applicants

fire at least one live round of ammunition, will lead to a decrease in accidental deaths by

firearm. See Carter, 669 F.3d at 418 (common sense is one source on which the State may

rely to carry its burden under intermediate scrutiny). Handguns are necessarily and

purposely dangerous, and requiring minimal training in how to avoid unintended harm


       6
        Ex. 6, Daniel Webster, et al., Effects of the Repeal of Missouri’s Handgun
Purchaser Licensing Law on Homicides, 91 J. of Urban Health 2, 293 (2014).
       7
        Ex. 7, Cassandra K. Crifasi, et al., Effects of Changes in Permit-to-Purchase
Handgun Laws in Connecticut and Missouri on Suicide Rates, 79 Preventive medicine 43
(2015).

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from their ownership easily satisfies intermediate scrutiny. See Heller III, 801 F.3d at 278-

79 (holding District’s mandatory firearms safety training was constitutional based on the

District’s presentation of “substantial evidence from which it could conclude that training

in the safe use of firearms promotes public safety by reducing accidents involving

firearms”). Indeed, in Maryland, law enforcement officers are required to receive extensive

training on the operation, handling, and storage of handguns, including in the home. See

COMAR 12.04.02.03 ̶ .05; 12.04.02.03.10(D). These long-standing training requirements

strongly support the utility of the relatively brief, four hours of training that civilian

handgun purchasers must receive. See Heller III, 801 F.3d at 279 & n.3 (relying on

“anecdotal evidence showing the adoption of training requirements ‘in most every law

enforcement profession that requires the carrying of a firearm’ and a professional

consensus in favor of safety training”). Given the popularity of handguns for in-home self-

defense, see Heller I, 554 U.S. at 628, and the potential dangers that arise when handguns

are improperly stored or handled in the home, Maryland’s requirement of a four-hour

training course is reasonably adapted to the State’s goal of reducing firearm-related deaths.

       The plaintiffs also challenge the costs associated with these fingerprinting,

background check, and training requirements. However, because these provisions of the

HQL law are constitutional, the “additional requirement” that applicants bear the cost of

complying with them “is but a corollary necessary to implement those requirements” and,

thus, also constitutional. Heller III, 801 F.3d at 277. Nothing in Heller I or McDonald

suggests that presumptively lawful regulations on the commercial sale of firearms or a

state’s enactment of reasonable regulation to protect public safety cannot impose some

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costs on consumers of firearms. “The fact that a law which serves a valid purpose, one not

designed to strike at the right itself, has the incidental effect of making it more difficult or

more expensive to [exercise the right] cannot be enough to invalidate it.” Planned

Parenthood of Southeastern Pa. v. Casey, 505 U.S. 833, 874 (1992).

       Moreover, the plaintiffs’ facial challenge to the costs associated with fulfilling these

requirements fails for the additional reason that they have not alleged facts to support their

claim that these costs impose an unconstitutional burden in every circumstance. Indeed,

three of the four individual plaintiffs do not allege that the costs would impose a hardship

on them or have prevented them from applying for an HQL.

       Similarly, the plaintiffs’ conclusory allegations that live-scan fingerprint vendors,

firearms safety instructors, and shooting ranges are not accessible in all areas of the State,

ECF No. 1, Compl. ¶ 47, cannot state a claim for relief. That none of the individual

plaintiffs (and in the case of MSI, none of its members) has alleged that vendors for these

services are not accessible to her highlights two deficiencies in their facial challenge.8

First, even if true that some individuals might have problems accessing these services, that

cannot support a facial challenge to the requirement. Second, and more fundamentally, the

plaintiffs lack standing to challenge these requirements. To have standing, a plaintiff must



       8
         For example, the plaintiffs allege that the regulation requiring that applicants fire
one round of live ammunition imposes an unconstitutional burden on “disadvantaged
citizens of Maryland who live in urban areas, where access to a public shooting range is
effectively non-existent, such as the City of Baltimore.” ECF No. 1, Compl. ¶ 47.
However, none of the plaintiffs lives in the City of Baltimore, nor do any of the plaintiffs
purport to live in another urban area “where access to a public shooting range is effectively
non-existent.”
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demonstrate that she has suffered a “concrete and particularized” injury that is actual or

imminent, not conjectural or hypothetical. Lujan v. Defenders of Wildlife, 504 U.S. 555,

560-61 (1992). Thus, because none of the plaintiffs has alleged that she has suffered a

“concrete and particularized” injury as a result of any lack of access to a live-scan

fingerprint vendor, firearms safety instructor, or shooting range, this challenge should be

dismissed for lack of standing. See Heller v. District of Columbia, 45 F. Supp. 3d 35, 71

(D.D.C. 2014) (dismissing for lack of standing a challenge to the District’s requirement

that a firearm registrant “not [be] blind,” because none of the plaintiffs in that case was

blind and, thus, none had suffered a “‘concrete and particularized’ injury as a result of the

District’s prohibition on blind gun registrants.” (quoting Lujan, 504 U.S. at 560)), aff’d in

part, rev’d in part on other grounds, Heller III, 801 F.3d 264.

              2.     The Administrative Fee, Processing Period, and On-Line
                     Requirements Associated with the HQL Application
                     Process Are Constitutional.

       The plaintiffs also challenge the $50 administrative cost of the HQL application.

This facial challenge fails because, as other courts have held, “reasonable fees associated

with the constitutional requirements” of firearm registration and licensing “are also

constitutional.” Heller III, 801 F.3d at 278 (finding registration fees of $13 per firearm

and $35 for fingerprinting were constitutional); see also Kwong, 723 F.3d at 165-67

(approving $350 licensing fee); Justice, 827 F. Supp. 2d at 842 (approving $25 application

fee). Just as in the First Amendment context, the State may impose licensing fees when

the fees are designed “to meet the expense incident to the administration” of the licensing

statute. Cox v. New Hampshire, 312 U.S. 569, 577 (1941) (internal quotation marks

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omitted) (upholding parade licensing statute that imposed a sliding fee); see also Center

for Auto Safety Inc. v. Athey, 37 F.3d 139, 145 (4th Cir. 1994) (holding that charitable

registration fees furthered legitimate government purpose in “enabl[ing] the state to prevent

fraud by charities soliciting funds in Maryland”). Here, the statute limits the allowable fee

only to the amount “to cover the costs to administer the program.”                  Pub. Safety,

§ 5-117.1(g)(2). Because the $50 fee, which amounts to $5 per year, is associated with a

licensing scheme that is facially constitutional, the fee also is constitutional.

       In addition, the plaintiffs challenge the length of time it takes for the State to issue

the HQL after an application is submitted, which is statutorily capped at 30 days. Pub.

Safety § 5-117.1(h)(1). The 30-day statutory period has a plainly legitimate sweep,

however, because it advances Maryland’s substantial interest in ensuring that an HQL is

not improperly granted to a prohibited person. Notably, the 30-day statutory limit is

significantly shorter than the time limit adopted in some other states. See, e.g., N.Y. Penal

Law § 400.00(4-a) (providing for a six-month application period); Conn. Gen. Stat.

§ 29-36g (90-day period).     Moreover, the statute merely sets an outer limit of 30 days,

during which applicants are not prohibited from purchasing a firearm other than a handgun

or from using handguns they already own. Thus, it would not be possible to demonstrate

that the timing of the application process imposes an unconstitutional burden on the Second

Amendment right in every circumstance.

       Finally, to the extent that the plaintiffs bring a facial challenge to the regulatory

requirements that applicants (1) have a fixed address and telephone number, (2) file an

application online, thus requiring access to a computer with an Internet connection and an

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electronic document scanner,9 and (3) have a credit or debit card, all of these requirements

easily survive a facial challenge. None of the plaintiffs (or, in the case of MSI, none of its

identified members) alleges that she lacks a fixed address or phone number; lacks access

to a credit or debit card; or lacks access to a computer with an Internet connection or an

electronic document scanner. For this reason, as discussed above, the plaintiffs cannot

show that these alleged requirements are unconstitutional in every circumstance, and these

plaintiffs also lack standing to challenge them. See Lujan, 504 U.S. at 560 (requiring a

“concrete and particularized” injury to establish standing).

       The plaintiffs’ facial challenge to the HQL law fails to state any claim for relief, and

should be dismissed.

       D.     Plaintiffs’ As-Applied Challenges Fail to State a Claim for Relief
              Because None of the Plaintiffs Has Alleged that the Law Has Been
              Applied to Her in an Unconstitutional Manner.

       For many of the reasons already discussed, the plaintiffs’ as-applied challenges to

the HQL requirement also fail. Given that none of the plaintiffs (or, in the case of MSI,

none of its identified members) has alleged that she sought and was denied an HQL, the

plaintiffs cannot “demonstrate that the application or enforcement of [the HQL

requirement] is unconstitutional.” Rowe, 615 F.3d at 243. Further, as discussed below, the

plaintiffs also have failed to allege with sufficient specificity to support an as-applied



       9
         Although the plaintiffs allege that the HQL application necessitates access to a
scanner, the HQL application instructions clearly state that “SUPPORTING
DOCUMENTATION IS NOT REQUIRED FOR THE STANDARD APPLICATION.” A
copy of the standard HQL application instructions publicly available through the MSP
website is attached as Exhibit 8.
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challenge how the provisions of the HQL law have prevented them from exercising their

Second Amendment rights.

       First, as discussed above, none of the plaintiffs (or, in the case of MSI, none of its

identified members) alleges that she lacks access to a computer, the Internet, an electronic

document scanner, a qualified handgun instructor, a live-scan fingerprint vendor, or a

shooting range, and, thus, the plaintiffs lack standing to challenge the associated

requirements. See Lujan, 504 U.S. at 560. Nor may the plaintiffs “‘challenge [those

requirements] on the ground that [they] may conceivably be applied unconstitutionally to

others, in other situations not before the Court.’” Masciandaro, 638 F.3d at 474 (quoting

Broadrick v. Oklahoma, 413 U.S. 601, 610 (1973)); see also United States v. Skoien, 614

F.3d 638, 645 (7th Cir. 2010) (“A person to whom a statute properly applies can’t obtain

relief based on arguments that a differently situated person might present.”).

       Second, only one plaintiff, Ms. Sliveira, alleges that she does not already own a

firearm, and she has not alleged that she sought an HQL at any time after she learned, in

early 2015, that her personal information was hacked, and, thus, she cannot demonstrate

that the alleged application period imposed any burden as applied to her.

       Third, although two of the individual plaintiffs have alleged generally that the

burden of obtaining an HQL has prevented them from filing an application, neither alleges

facts sufficient to state a claim for relief. Ms. Vizas alleges that she “has taken (and passed)

Hunter Safety Training,” thus suggesting that she need not take an additional firearms

safety training course, but further alleges that “the subsequent steps for obtaining an HQL

are sufficiently burdensome that she has not moved forward.” ECF No. 1, Compl. ¶ 16.

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However, Ms. Vizas has not specified which “steps” have kept her from moving forward,

nor has she alleged how they are “sufficiently burdensome” for her. Ms. Bunch alleges,

without any specific factual allegations, that she “cannot afford the time or excessive cost

of acquiring an HQL.” Id. ¶ 24. These plaintiffs’ general allegations that the HQL

application requirements are overly burdensome, with no specific supporting factual

assertions, do not provide the Court with “‘the concrete facts necessary’ to assess . . . an

as-applied challenge.’” Rowe, 615 F.3d at 243.

       For all of these reasons, Count I should be dismissed.

II.    THE PLAINTIFFS’ DUE PROCESS CLAIM FAILS BECAUSE THE STATUTE
       DOES NOT GIVE PRIVATE HANDGUN INSTRUCTORS AUTHORITY TO DENY
       SECOND AMENDMENT RIGHTS AND THE WORDS “RECEIVE” AND
       “RECEIPT” ARE NOT VAGUE.

       In Count II, the plaintiffs assert two challenges under the Due Process Clause of the

Fourteenth Amendment. First, the plaintiffs contend that the statute vests private handgun

instructors with “absolute authority to grant or deny” Second Amendment rights without

any recourse to the courts. ECF No. 1, Compl. ¶¶ 63-66. Second, the plaintiffs claim that

the words “receive” and “receipt” in the statute are void for vagueness. Both claims fail as

a matter of law.

       A.     The Firearm Safety Act Does Not Give Private Handgun
              Instructors Absolute Authority to Grant or Deny Second
              Amendment Rights.

       The plaintiffs contend that the State has violated their right to procedural due

process by giving private handgun instructors the “absolute authority to grant or deny”

their Second Amendment rights without providing any right to appeal to a court from an


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adverse decision. ECF No. 1, Compl. ¶¶ 64-66. The premise of the plaintiffs’ claim is

false and entirely unsupported by necessary factual allegations, as neither the statute nor

the implementing regulations give private handgun instructors the authority to grant or

deny a Second Amendment right, the plaintiffs have failed to identify any actual

deprivation of a protected right resulting from state action, and the right to appeal an

adverse decision on an HQL application is always available.

       The procedural due process requirement of the Fourteenth Amendment “simply

ensures a fair process before the government may deprive a person of life, liberty, or

property.” Sansotta v. Town of Nags Head, 724 F.3d 533, 540 (4th Cir. 2013). A

procedural due process claim requires a plaintiff to satisfy three elements. First, the

plaintiff “must demonstrate that he had a constitutionally cognizable life, liberty, or

property interest.” Id. at 540. Second, the plaintiff “must show that the deprivation of that

interest was caused by ‘some form of state action.’” Id. (quoting Iota Xi Chapter of Sigma

Chi Fraternity v. Patterson, 566 F.3d 138, 145 (4th Cir. 2009)). Third, the plaintiff “must

prove ‘that the procedures employed were constitutionally inadequate.’” Id. (quoting

Patterson, 566 F.3d at 145).

       In this case, the plaintiffs have identified their Second Amendment right to keep and

bear arms as the relevant constitutionally-protected interest. The plaintiffs’ procedural due

process claim fails, however, on both the second and third elements. Indeed, the plaintiffs

have failed to identify any actual deprivation of their Second Amendment rights by any

action of a qualified handgun instructor. None of the plaintiffs has even completed an HQL

application, much less alleged that a qualified handgun instructor interfered with her ability

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to receive an HQL. In Sansotta, the Fourth Circuit considered whether the owners of beach

properties in North Carolina who had been fined for violation of public nuisance laws had

stated a procedural due process claim for deprivation of the money they would have to pay

pursuant to the fine. However, the Court held that because the owners had not actually

paid the fine, they had not yet been deprived of anything, and their procedural due process

claim thus failed. 724 F.3d at 540. In this case, the complaint does not contain even a

suggestion that the plaintiffs, or anyone else, have actually been deprived of their Second

Amendment right by the action of a qualified handgun instructor. Their claim thus fails.

       Moreover, the plaintiffs’ claim, which is entirely speculative, originates in the

requirement that an individual applicant for an HQL demonstrate that he or she has

completed the firearms training course that is required by § 5-117.1(d)(3). ECF No. 1,

Compl. ¶¶ 64-65. The role of a qualified handgun instructor under the statute and

regulations is to provide the safety training course required by the statute. Pub. Safety

§ 5-117.1(d); COMAR 29.03.01.29, .37. A qualified handgun instructor is not permitted

by statute or regulation to grant or deny an HQL license, or to make any discretionary

determination of any kind in connection with the HQL process. The State has not entrusted

to the qualified handgun instructors any authority to grant or deny an HQL.

       In addition, the plaintiffs cannot demonstrate the third prong of a due process claim,

as a matter of law, because any denial of an HQL, for any reason, is subject to judicial

review. Statute and regulation both set forth an appeal process including an initial appeal

to the Secretary, who is obligated to provide a hearing, followed by judicial review in state



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court according to the standard judicial review process available under Maryland law. Pub.

Safety § 5-117.1(l); COMAR 29.03.01.36.

       The plaintiffs’ procedural due process claim must be dismissed.

       B.     The Terms “Receive” and “Receipt” Are Not Void for Vagueness.

       The plaintiffs have similarly failed to state a claim upon which relief might be

granted that the statutory terms “receipt” and “receive” are void for vagueness.

       “It is a basic principle of due process that an enactment is void for vagueness if its

prohibitions are not clearly defined.” Grayned v. City of Rockford, 408 U.S. 104 (1972).

The “void for vagueness doctrine addresses at least two connected but discrete due process

concerns: first, that regulated parties should know what is required of them so they may

act accordingly; second, precision and guidance are necessary so that those enforcing the

law do not act in an arbitrary or discriminatory way.” Federal Commc’n Comm’n v. Fox

TV Stations, 132 S. Ct. 2307, 2317 (2012). The Supreme Court has identified the “most

meaningful” aspect of vagueness doctrine as “‘the requirement that a legislature establish

minimal guidelines to govern law enforcement.’” United States v. Lanning, 723 F.3d 476,

482 (4th Cir. 2013) (quoting Smith v. Goguen, 415 U.S. 566, 574 (1974)).

       However, courts “do not hold legislators to an unattainable standard when

evaluating enactments in the face of vagueness challenges.” Wag More Dogs, 680 F.3d at

371. “‘A statute need not spell out every possible factual scenario with ‘celestial precision’

to avoid being struck down on vagueness grounds.’” United States v. Hager, 721 F.3d 167,

183 (4th Cir. 2013) (citation omitted). A statute “‘must be construed, if fairly possible, so

as to avoid not only the conclusion that it is unconstitutional, but also grave doubts upon

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that score.’” Id. at 183 (citation omitted). Thus, if any aspect of a statute could be deemed

vague, a “federal court must ‘consider any limiting construction that a state court or

enforcement agency has proffered.’” Martin v. Lloyd, 700 F.3d 132, 136 (4th Cir. 2012)

(quoting Village of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 494

n.5 (1983)).

       Under § 5-117.1 of the Public Safety Article, a person may not “purchase, rent, or

receive a handgun” without an HQL. Section 5-144 of the Public Safety Article thus makes

unlawful the purchase, rental, or “receipt” of a regulated firearm (including a handgun) in

violation of that subtitle. The plaintiffs contend that the use of “receive” and “receipt” in

these provisions is unconstitutionally vague. They are incorrect.

       First, the plaintiffs’ allegations demonstrate a central deficiency in their claim,

which is their own acknowledgment that their proffered interpretation of these terms is not

reasonable. The plaintiffs contend that reading “receive” and “receipt” as broadly as they

posit would lead to “absurd results,” such as “criminalizing conduct that no reasonable

person would believe or understand to be wrongful.” ECF No. 1, Compl. ¶ 70. However,

it is only the plaintiffs who posit these interpretations that, as they acknowledge, “no

reasonable person” would accept. Id. It is a “well-established canon[] of statutory

construction” in Maryland that “a statute must be given ‘a reasonable interpretation, not

one that is absurd, illogical, or incompatible with common sense.’” Smith v. State, 425

Md. 292, 299 (2012) (citation omitted). That “principle applies even when the statute is

ambiguous.” Id.



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       Second, the terms at issue, considered in context, are not vague or ambiguous.

Section 5-117.1(b) addresses the transfer of handguns from the perspective of the

transferor, and prohibits a transferor to “sell, rent, or transfer” a handgun to someone

without an HQL. Section 5-117.1(c) then addresses the transaction from the transferee

side, forbidding an individual to “purchase, rent, or receive” a handgun without an HQL.

These provisions are mirror images of each other. “Sell” and “purchase” are two sides of

a permanent transfer for consideration of ownership. “Rent” is used in both provisions to

refer to both sides of a transaction that is defined by the statute as a “temporary transfer for

consideration of a regulated firearm that is taken from the property of the owner of the

regulated firearm.” Md. Code Ann., Pub. Safety § 5-101(s).

       “Transfer,” as used in subsection (b), and “receive,” as used in subsection (c), are

two sides of the third and final type of transaction covered by the statute, a permanent, non-

commercial transfer of a firearm. That natural meaning is confirmed by context and

controlling Maryland law. The Maryland Court of Appeals considered the scope of

transfers governed by Maryland’s regulated firearms laws – then covered in § 442 of the

former Article 27 and subsequently recodified in subtitle 1 of Title 5 of the Public Safety

Article – in Chow v. State, 393 Md. 431 (2006). In Chow, the Court of Appeals specifically

addressed the meaning of the term “transfer” as used in a statute making it unlawful for a

person who is not a regulated gun owner to “sell, rent, transfer, or purchase any regulated

firearm” without complying with the application process and waiting period. Chow, 393

Md. at 442 (quoting former art. 27, § 442(d)(1)).



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       In undertaking its analysis, the Court of Appeals observed that the word “transfer”

can have different meanings in different contexts, and so it was required to “look to the

context in which the word is used.” Id. at 448. The court therefore looked to the definitions

of the other terms that were paired with “transfer” in the statute, including in provisions

that addressed the sale or rental or firearms. Id. at 448-49. In those statutes, the court

concluded, all of the terms used except “rent” contemplated a permanent exchange of title

or possession of the firearm. Id. “Rent,” by contrast, was (and still is) expressly defined

in the statute to be “the temporary transfer of a regulated firearm for consideration where

the firearm is taken from the firearm owner’s property.” Id. Thus, the court concluded

that the statute established three different types of transactions intended to be covered:

(1) permanent commercial transfers, covered by the terms “sell” and “purchase”;

(2) temporary commercial transfers where the firearm leaves the owner’s property, covered

by the defined term “rent”; and (3) permanent gratuitous transfers, covered by the term

“transfer.” Id. at 454-55. Based on this analysis, the Court ultimately concluded that the

prohibition on the “transfer” of a regulated firearm did not address a “temporary gratuitous

exchange of a regulated firearm between persons legally permitted to possess firearms.”

Id. at 463 (emphasis in original). Notably, the provision establishing the penalty for a

violation of the regulated firearms laws applied, then as now, to the “receipt of a regulated

firearm” in violation of the statute. Id. at 434-35 & n.3, 463 (emphasis added).

       The analysis in Chow is equally applicable to the use of the term “receive” in

§ 5-117.1(c). As discussed above, the General Assembly used “receive” and “transfer” to

address two sides of the same transaction – the permanent, gratuitous transfer of ownership

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of a regulated firearm. Moreover, the General Assembly, acting seven years after the Chow

decision defined the scope of the regulated firearms laws, placed § 5-117.1 squarely within

that portion of the Public Safety Article addressing regulated firearms, subtitle 1 of Title 5

of the Public Safety Article. In doing so, the General Assembly is deemed to have

acquiesced to the earlier interpretation of the Court of Appeals. Macke Co. v. State Dept.

of Assessments and Taxation, 264 Md. 121, 132-33 (1972) (when the General Assembly

legislates in light of a prior judicial construction without disturbing that construction, the

General Assembly “is deemed to have acquiesced in the prior judicial interpretation as

expressing the legislative intent”). These provisions, including the word “receive,” thus

do not cover the temporary, gratuitous transfer of a handgun.10

       An additional reason the terms “receive” and “receipt” cannot reasonably be

construed as broadly as plaintiffs proffer is that they would render superfluous all of the

other statutory terms defining the transactions that are covered by the regulated firearms

laws. If, as the plaintiffs posit, “receive” and “receipt” cover any exchange of physical

possession of a firearm – regardless of whether the exchange is temporary or permanent

and whether it is for consideration – they would necessarily also cover any sale, purchase,


       10
          Nearly all of the “absurd results” the plaintiffs contend could ensue from their
broad reading of “receive” and “receipt” involve scenarios that are effectively precluded
by the analysis of the Court of Appeals in Chow and, thus, not subject to the HQL
requirement. The temporary use of a handgun at a firing range or in the home, ECF No. 1,
Compl. ¶ 70, is a temporary gratuitous transfer, as is temporarily securing a handgun for
an individual incapacitated for some reason, or allowing an individual to handle a handgun
at a gun store or a firing range, id. ¶ 71. The sole exception among the scenarios identified
by the plaintiffs is what they posit as “in the event of a divorce involving a handgun
declared marital property, may a spouse sell the handgun?” Id. The plain language of the
statute applies to any sale of a handgun. Pub. Safety § 5-117.1(b).
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rental, or other transfer of a firearm, rendering those terms superfluous. Statutes must be

read so as not to render superfluous any of their terms. Chow, 393 Md. at 442.

       For all of these reasons, Count II must be dismissed.


III.   THE PLAINTIFFS HAVE FAILED TO STATE A CLAIM FOR VIOLATION OF
       MARYLAND LAW UPON WHICH RELIEF CAN BE GRANTED IN COUNT III.

       In Count III, the plaintiffs allege a violation of Maryland state law through the

Maryland State Police’s adoption of the implementing regulations and application

requirements. The plaintiffs thus seek a declaratory judgment, pursuant to § 10-125 of the

State Government Article, that finds various aspects of the implementing regulations

invalid as exceeding the Maryland State Police’s statutory authority or as failing “to

comply with statutory requirements for the adoption of the provision.” Md. Code Ann.,

State Gov’t § 10-125(d).

       In enacting the HQL law, the General Assembly expressly authorized the Secretary

to “adopt regulations to carry out the provisions of this section.” Pub. Safety § 5-117.1(n);

see also id. § 5-105 (requiring the Secretary to adopt regulations “to carry out this

subtitle”).11 When assessing whether regulatory action is “consistent with the letter and

the spirit of the law under which the agency acts,” Medstar Health v. Maryland Health

Care Comm’n, 376 Md. 1, 20 (2003), courts accord substantial deference to the action,


       11
           Although the plaintiffs make the bald, conclusory allegation that the Maryland
State Police failed to comply with “statutory requirements” for adopting regulations, ECF
No. 1, Compl. ¶ 88, they fail to identify any such statutory requirements, or to make any
factual allegations to support any alleged lack of compliance. Such legal conclusions,
absent supporting factual allegations, fall far short of what is required to “state a claim to
relief that is plausible on its fact.” Iqbal, 556 U.S. at 678.

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with their review “‘limited to assessing whether the agency was acting within its legal

boundaries.’” Id. at 20-21 (quoting Adventist Healthcare Midatlantic, Inc. v. Suburban

Hosp., Inc., 350 Md. 104, 124 (1998)); see also id. at 21 (explaining that courts examining

regulations adopted under Maryland law are generally required to “‘defer to the agencies’

decisions,’” especially with respect to “agencies working in the area of health and safety”

(quoting Fogle v. H & G Restaurant, Inc., 337 Md. 411, 455, 456 (1995)). Thus, Maryland

courts have “‘upheld [an] agency’s rules and regulations as long as they did not contradict

the language or purpose of the statute.” Id. (quoting Christ by Christ v. Maryland Dept. of

Nat. Res., 335 Md. 427, 437 (1994)).

       For the reasons that follow, the plaintiffs have failed to identify any aspect of the

challenged regulatory action that contradicts the language or purpose of the HQL statute.

       A.     The HQL Law Does Not Require the Maryland State Police to
              Offer Background Check and Fingerprinting Services.

       The plaintiffs complain that the Maryland State Police “has chosen not to” provide

background check and fingerprinting services, even though it is not precluded from doing

so. ECF No. 1, Compl. ¶ 82. In noting only that the Maryland State Police is not precluded

from offering those services, the plaintiffs implicitly concede that nothing in the statute’s

text requires the Maryland State Police to offer these services, and the plaintiffs have not

identified any other source of an alleged obligation to do so. Thus, the plaintiffs have failed

to state any claim that not providing these services contradicts Maryland law.




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       B.     None of the Challenged Regulations Concerning Firearms Safety
              Training Are Beyond the Scope of the HQL Law.

       The plaintiffs also challenge four components of the Secretary’s regulations and

policies concerning the firearms training component of the HQL law. Because none of

these components is inconsistent with the statute – indeed, some are mandated by the

statute – the plaintiffs’ claim fails. First, the plaintiffs challenge as beyond the statutory

authority of the Maryland State Police the regulatory actions “requiring training by a

private State certified instructor, and refusing to provide any training by the Maryland State

Police.” ECF No. 1, Compl. ¶ 84(f). However, it is the General Assembly, not the

Maryland State Police, that imposed the requirement that the training must be provided by

a qualified handgun instructor. Pub. Safety § 5-117.1(d)(3)(i). The Maryland State

Police’s regulations merely restate that statutory requirement.               See COMAR

29.03.01.29(C) (setting out requirements for training course).

       Further, the statute does not require the State Police to offer training courses, nor

does it even contemplate that the State Police might do so. To the contrary, the term

“qualified handgun instructor” is defined by statute as a certified handgun instructor who:

(1) is recognized by the Maryland Police and Correctional Training commissions; (2) holds

a license issued by the Secretary; or (3) holds a “certification issued by a nationally

recognized    firearms   organization.”       Pub.    Safety   § 5-101(q);    see   COMAR

29.03.01.01(B)(36) (deferring to statutory definition of “qualified handgun instructor”).

Further evidence of the General Assembly’s intent is that it did not provide any of the

funding that would be necessary for the State Police to provide training courses.


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       Second, the plaintiffs challenge the “practice component in the training requirement

in which the applicant fires at least one round of live ammunition, thereby requiring access

to a shooting range.” ECF No. 1, Compl. ¶ 84(g). In § 5-117.1(d)(3)(iii), the General

Assembly required that one component of the training required of HQL applicants is “a

firearms orientation component that demonstrates the person’s safe operation and handling

of a firearm.” In further elucidating that requirement by regulation, the Secretary requires

that component to include “a practice component in which the applicant safely fires at least

one round of live ammunition.” COMAR 29.03.01.29(C)(4). The plaintiffs’ challenge

must fail because there is no plausible reading of the statute’s requirement that an applicant

“demonstrate[] the . . . safe operation . . . of a firearm” (emphasis added) that is contradicted

by the regulatory requirement that an applicant make that demonstration by firing at least

one round of live ammunition.

       Third, the plaintiffs make the conclusory allegation that the Secretary has “refus[ed]

or fail[ed]” to approve alternative firearms training courses. ECF No. 1, Compl. ¶ 85.

However, because the statute clearly places with the Secretary the authority to approve

alternative firearm trainings courses, the plaintiffs’ allegations, even if true, are insufficient

to demonstrate that the Secretary’s actions contradict the terms of the statute. Moreover,

the plaintiffs allege merely that “fully sufficient training is readily available from National

Rifle Association (“NRA”) certified instructors” through certain NRA courses. The

plaintiffs do not allege that such courses actually satisfy the minimum requirements of the

HQL statute or that the Secretary has been asked to approve any of them. Notably, the

applicable regulations identify as a qualified handgun instructor anyone who has been

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issued a “valid instructor certificate issued by a nationally recognized firearm

organization.” COMAR 29.03.01.37(A)(3). Because the NRA is a nationally recognized

firearm organization, a NRA-certified instructor need only provide proof of that

certification to the Maryland State Police to be considered a qualified handgun instructor

for purposes of the HQL law. COMAR 29.03.01.37(B). As a result, if any of the courses

identified by the plaintiffs do actually meet the minimum requirements of Maryland law,

and are taught by an NRA-certified instructor who has submitted proof of that certification

to the Secretary, then they already meet the requirements of the HQL law.

       Fourth, the plaintiffs’ claim that the Secretary has impermissibly shifted the burden

of paying for a training course to individual applicants, ECF No. 1, Compl. ¶¶ 89-90, is

without merit. Relying on the statutory requirement that an applicant for an HQL pay “a

nonrefundable application fee to cover the costs to administer the program of up to $50,”

Pub. Safety, § 5-117.1(g)(2), the plaintiffs contend that training costs must be subsumed

within this $50 cap. ECF No. 1, Compl. ¶ 90. On the contrary, the fee required by the

statute is for “the costs to administer the program,” clearly in reference to the administrative

costs to the Maryland State Police in running the HQL program. There is no reasonable

interpretation of that phrase that would encompass fees to be paid by individual applicants

to comply with the statute’s training requirement, which is a separate requirement of the

law. Pub. Safety § 5-117.1(d)(3).




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       C.     The Plaintiffs’ Remaining Challenges Fail for Lack of Standing
              and Because the Challenged Requirements Do Not Contradict the
              HQL Statute’s Language or Purpose.

       The plaintiffs lack standing to challenge the remaining aspects of the regulations

about which they complain. As discussed above, none of them (or, in the case of MSI,

none of its identified members) alleges that she lacks access to a computer with an Internet

connection, lacks access to an electronic document scanner, lacks a fixed address and

telephone number, lacks access to the network of live-scan fingerprint vendors throughout

the State, or lacks access to a credit card or debit card. See ECF No. 1, Compl. ¶ 84(a)-(e).

Thus, the plaintiffs have failed to articulate that they have suffered an injury in fact such

that they have been injured “in a personal and individual way” by these regulatory

requirements. Lujan, 504 U.S. at 560-61 & n.1.

       Beyond standing, many of the plaintiffs’ complaints relate to the electronic format

of the HQL application and information required on that application. However, § 5-

117.1(g) expressly requires submission of “an application in the manner and format

designated by the Secretary,” and requires an applicant to provide, in addition to

information expressly required by the statute, “any other identifying information or

documentation required by the Secretary.” Pub. Safety § 5-117.1(g)(1), (4). Given the

express discretion provided to the Secretary to select the manner and format of an

application, as well as to identify the information to be provided, there is no reasonable

argument that the Secretary’s selection of an electronic format for the application, selection

of an approved format for fingerprints, and request for information such as address and

telephone number, contradicts the HQL statute.

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       Moreover, many of the plaintiffs’ claims about what the regulations require are

unsupported and incorrect. The plaintiffs provide no factual allegations to support their

claim that the State Police mandate “having access to an electronic document scanner,”

ECF No. 1, Compl. ¶ 84(b), nor is there any such requirement. The plaintiffs also provide

no factual support for their claim that an individual is required to have a “fixed address and

telephone number.”      Id. ¶ 84(c).   And although the application must be submitted

electronically, and include a form of payment that can be accepted electronically, it is

within the scope of judicial notice that public libraries provide access to computers with an

Internet connection to every Marylander, and prepaid debit cards are ubiquitous at

convenience stores and grocery stores, among other venues.

       For all of these reasons, Count III must be dismissed.


                                       CONCLUSION

       The Court should dismiss the complaint.

                                           Respectfully Submitted,

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Dated: December 2, 2016                    Attorneys for Defendants

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                     TABLE OF EXHIBITS TO
     DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION TO DISMISS

Exhibit No. Title

1.     Intentionally left blank

2.     Md. Code Ann., Pub. Safety § 5-117.1

3.     Code of Maryland Regulations (COMAR) 29.03.01.26 - .41

4.     Daniel Webster et al., Preventing the Diversion of Guns to Criminals through
       Effective Firearm Sales Laws, in Reducing Gun Violence in America: Informing
       Policy with Evidence and Analysis 109-22 (Webster, et al., eds., Johns Hopkins
       Univ. Press 2013)

5.     Kara E. Rudolph, et al., Association Between Connecticut’s Permit-to-Purchase
       Handgun Law and Homicides, 105 Am. J. of Public Health 8 (Aug. 2015)

6.     Daniel Webster, et al., Effects of the Repeal of Missouri’s Handgun Purchaser
       Licensing Law on Homicides, 91 J. of Urban Health 2 (2014)

7.     Cassandra K. Crifasi, et al., Effects of Changes in Permit-to-Purchase Handgun
       Laws in Connecticut and Missouri on Suicide Rates, 79 Preventive medicine 43
       (2015)

8.     Maryland State Police, HQL Standard Application Instructions
